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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA             )
                                     )
    v.                               )         CRIMINAL ACTION NO.
                                     )           2:10cr186-MHT
MILTON E. McGREGOR,                  )                 (WO)
THOMAS E. COKER,                     )
LARRY P. MEANS,                      )
JAMES E. PREUITT,                    )
HARRI ANNE H. SMITH, and             )
JARRELL W. WALKER, JR.               )


                                 ORDER

    It is ORDERED as follows:

    (1) The total time for closing arguments is nine

hours as follows: three hours for the government; and six

hours total for the six defendants, with the time to be

divided among the six defendants as they so choose.                     If

the defendants are unable to agree to a division, the

court itself will divide the hours among them.

    (2) Closing arguments will be held on Tuesday and

Wednesday,    February      28   &       29,   2012.    For   Tuesday,

arguments will run from 8:00 a.m. to 10:00 a.m., 10:30
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a.m. to noon, 1:00 p.m. to 3:00 p.m., and 3:30 p.m. to

5:00 p.m.     For Wednesday, arguments will run from 8:00

a.m. to 10:00 a.m.

    DONE, this the 27th day of February, 2012.


                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
